        Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 1 of 12



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

            v.
                                                    Crim. No. 19-cr-10080-NMG-MPK
 DAVID SIDOO, et al.,

                        Defendants.


                             JOINT INTERIM STATUS REPORT

       Pursuant to Local Rule 116.5(b), the parties hereby file the following status report prepared

in connection with the Interim Status Conference that is currently scheduled for January 17, 2020.

(1)    Automatic Discovery & Pending Discovery Requests

       Automatic Discovery

       The Government mailed automatic discovery in this case to Defendant Sidoo on or about

April 25, 2019, the Colburn Defendants on or about April 30, 2019, and the remaining Defendants

on or about May 17, 2019. The Government produced supplemental discovery to all Defendants

on or about May 29, 2019, July 1, 2019, August 30, 2019, October 31, 2019, and January 9, 2020.

The discovery was provided on hard drives, DVDs, and thumb drives. The Government provided

Defendants with indices where required and some, but not all discovery has been produced as

databases in load-ready forms. Defendants are currently reviewing this discovery.

       With the exception of Defendant McGlashan, who has produced one, three-page document

of Rule 16 discovery, and Defendant Zangrillo, who has produced the materials he acquired via

Rule 17(c) subpoena from the University of Southern California, Defendants have not yet

produced any discovery to the Government despite Government requests. The Defendants believe

that it is premature to do so at this time. The Government disagrees with the Defendants’ assertion

that it is “premature” to provide their own discovery. Rule 16(b) and Local Rule 116.1(d) clearly


                                                1
         Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 2 of 12



state Defendants must provide reciprocal Rule 16 discovery to the Government within 28 days of

arraignment. The Government contends that it has complied with its discovery obligations and

continues to comply with them. The Defendants have now had approximately 8 months to review

the Government’s discovery, confer with their clients, and strategize regarding potential defenses.

It is not premature to provide discovery, which they can later supplement, to the Government as

required by the rules. The Defendants have filed certain motions to compel, see below, and do not

agree that the Government has yet complied with its discovery obligations and contend that they

cannot reasonably be expected to identify documents subject to reciprocal discovery until the

Government has completed its Rule 16 obligations.

         Pending Discovery Requests

         Defendant Abdelaziz filed a motion to compel on November 13, 2019 (Dkt. #648). The

Government filed its opposition on November 27, 2019 (Dkt. #670), and Defendant Abdelaziz

filed a reply brief on December 6, 2019 (Dkt. #678). On December 13, 2019, the Court ordered

the Government to provide the Court, for in camera and ex parte inspection, certain materials

related to Defendant Abdelaziz’s motion (Dkt. #692). The Government complied with this Order

on December 23, 2019.

         On December 9, 2019, Defendants Sidoo, Abdelaziz, Diane and Todd Blake, Palatella,

Wilson, Zadeh, and Zangrillo filed a motion for production of exculpatory evidence regarding Title

III interceptions and consensual recordings (Dkts. #681, 691). Defendants Amy and Gregory

Colburn, McGlashan, Kimmel, Giannulli, and Loughlin moved to join this motion (Dkts. #682-

684, 689), which the Court granted (Dkts. #687, 701).

         On December 13, 2019, Defendants Giannulli and Loughlin filed a motion to compel (Dkt.

#693).




                                                2
        Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 3 of 12



       On December 18, 2019, Defendant McGlashan filed a motion to compel (Dkt. #696).

       On December 18, 2019, Defendant Wilson filed a motion to compel (Dkt. #699).

       On December 19, 2019, the Government moved to continue deadlines for oppositions and

reply briefs for the motions to compel filed between December 9 and 18, 2019 (Dkt. #702). The

Court allowed this motion on December 23, 2019 (Dkt. #705). Accordingly, the briefing schedule

on these discovery motions is as follows:

           •   Opposition briefs:     January 14, 2020

           •   Reply briefs:          January 28, 2020

           •   Sur-Reply briefs:      February 4, 2020

           •   Hearing:               Potentially February 11, 2020; the Government has
                                      requested February 14, 2020

       In addition to the foregoing discovery motions, the Government is in the process of

responding to pending discovery requests from Defendants Diane and Todd Blake, Kimmel, Sidoo,

and Zangrillo that may result in the filing of further motions to compel additional discovery.

(2)    Additional Discovery

       The Government produced additional discovery on January 9, 2020, and anticipates

producing the e-mails obtained by the Government through court-authorized search warrants for

the emails of certain of the Defendants within the next few weeks. To the extent the Government

obtains additional Rule 16 discovery, the Government will provide it to Defendants pursuant to

Local Rule 116.7.

       Defendants anticipate providing discovery to the Government when they have determined

what evidence, if any, to introduce in their cases-in-chief, as required by Rule 16(b)(1)(A)(ii).

(3)    Timing of Additional Discovery Requests




                                                 3
        Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 4 of 12



       Consistent with the Court’s direction at the October 2, 2019 interim status conference that

Defendants not wait until the deadline, Defendants have made numerous discovery requests and

filed several discovery motions, as outlined in Section (1) above.

       While recognizing that additional discovery issues may arise after these dates, and while

recognizing that the defendants reserve their right to file additional motions to compel as they feel

necessary, the parties propose the following briefing schedule for any additional discovery

motions:

       •   Motions and opening memoranda              March 13, 2020

       •   Opposition memoranda                       April 30, 2020

       •   Reply briefs                               May 15, 2020

(4)    Protective Orders

       There is a protective order currently in place. Should a party seek modification of any

existing protective order, a motion will be filed with the Court to address any issue.

(5)    Pretrial Motions Under Fed. R. Crim. P. 12(b)

       The parties previously requested that the Court set a schedule for Defendants to file pretrial

motions under Fed. R. Crim. P. 12(b) after Defendants had an opportunity to review discovery

provided by the Government. The parties now propose the following briefing schedule for all Rule

12(b) motions:

       •   Motions and opening memoranda              April 1, 2020

       •   Opposition memoranda                       May 15, 2020

       •   Reply briefs                               June 1, 2020

       •   Proposed Hearing Date                      Week of June 15 or June 22, 2020




                                                 4
        Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 5 of 12



       The defendants reserve their right to file additional substantive motions and/or memoranda

based on discovery that is provided on or after March 1, 2020.

       With respect to the motion to dismiss filed by Defendants Amy and Gregory Colburn (Dkt.

#341), all parties previously agreed and requested that resolution of that motion be stayed until the

other Defendants had an opportunity to review the discovery materials from the Government to

determine whether to join the motion filed by the Colburn Defendants or to file their own separate

or consolidated motions. The parties now request that the Colburn Defendants’ motion be treated

as having been filed on April 1, 2020, consistent with the proposed briefing schedule, and any

Defendant seeking to join that motion do so by April 1, 2020.

(6)    Expert Discovery

       The Government agrees to provide any expert witness disclosures 90 days prior to trial,

and Defendants agree to provide any expert witness disclosures 30 days prior to trial.

       Certain Defendants also request that the Government agree to disclose, 6 months before

trial, the names and general subject-matters of its experts. Further, certain Defendants believe that

the final expert disclosures should be similar in scope to those required in civil actions. The

Government opposes this request, believing that there is no need to deviate from the standard time

frames here with respect to expert discovery.

(7)    Defenses of Insanity, Public Authority, or Alibi

       No Defendant presently intends to offer defenses of insanity, public authority, or alibi.

(8)    Speedy Trial Act

       The 70-day period specified in 18 U.S.C. § 3161(c)(1) commenced on March 15, 2019 as

to Defendant Sidoo, April 3, 2019 as to the Colburn Defendants, and April 9, 2019 as to the

remaining Defendants. In Orders entered March 18, 2019, April 3, 2019, April 9, 2019, April 29,




                                                 5
        Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 6 of 12



2019, June 3, 2019, and October 2, 2019, the Court has excluded all time between March 15, 2019

and January 17, 2020 under the Speedy Trial Act. See Dkts. 25, 124, 129, 370, 394, & 577.

       The parties have conferred and ask that the Court exclude the period of time from the time

of the interim status conference on January 17, 2020 to the time of the next status conference,

under 18 U.S.C. § 3161(h)(7)(A), to permit Defendants time to review discovery, confer with their

respective counsel, and prepare and file Rule 12(b) motions. The ends of justice served by this

exclusion outweigh the interests of the public and each Defendant in a speedy trial.

       (9)     Status of Plea Discussions and Likelihood and Estimated Length of Trial

       Defendants Elizabeth Henriquez, Manuel Henriquez, Douglas Hodge, and Michelle Janavs

pled guilty to the charges in the Second Superseding Indictment. Depending on the number of

Defendants remaining for trial, the Government currently estimates that its case-in-chief would

take approximately three to six weeks, assuming half-day sessions.

       (10)    Final Status Conference

       The parties request a final status conference the week of June 15, 2020, or at such time as

is convenient to the Court.




                                                6
        Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 7 of 12



Respectfully Submitted,


 ANDREW E. LELLING                         GAMAL ABDELAZIZ
 UNITED STATES ATTORNEY
                                           By his attorneys,
 /s/ Eric S. Rosen
 ERIC S. ROSEN                             /s/ Brian T. Kelly
 JUSTIN D. O’CONNELL                       Brian T. Kelly (BBO # 549556)
 LESLIE A. WRIGHT                          Joshua C. Sharp (BBO # 681439)
 KRISTEN A. KEARNEY                        Nixon Peabody LLP
 Assistant United States Attorneys         53 State Street
 John Joseph Moakley Courthouse            Boston, MA 02109
 One Courthouse Way, Suite 9200            Tel: (617) 345-1000
 Boston, Massachusetts 02210               bkelly@nixonpeabody.com
 Tel: (617)-748-3100                       jsharp@nixonpeabody.com
 Eric.Rosen@usdoj.gov
 Justin.O’Connell@usdoj.gov
 Leslie.Wright@usdoj.gov
 Kristen.Kearney@usdoj.gov


 DIANE BLAKE AND TODD BLAKE                I-HSIN “JOEY” CHEN

 By their attorneys,                       By his attorneys,

 /s/ David E. Meier                        /s/ Reuben Camper Cahn
 David E. Meier (BBO #341710)              Reuben Camper Cahn (pro hac vice)
 Todd & Weld LLP                           Jennifer L. Keller (pro hac vice)
 One Federal Street, 27th Floor            Chase A. Scolnick (pro hac vice)
 Boston, MA 02110                          KELLER/ANDERLE LLP
 Tel: (617) 624-4732                       18300 Von Karman Avenue, Suite 930
 dmeier@toddweld.com                       Irvine, CA 92612
                                           Tel: (949) 476-8700
 Stephen H. Sutro, Esq.                    rcahn@kelleranderle.com
 Duane Morris LLP
 One Market Plaza, Suite 2200
 San Francisco, CA 94105-1127
 Tel: (415) 957-3008
 shsutro@duanemorris.com

 AMY COLBURN AND GREGORY                   MOSSIMO GIANNULLI
 COLBURN
                                           By his attorneys,
 By their attorneys,
                                           /s/ Sean M. Berkowitz
 /s/ David S. Schumacher
 David S. Schumacher (BBO # 647917)
 HOOPER, LUNDY & BOOKMAN, P.C.
 470 Atlantic Avenue, Suite 1201
 Boston, MA 02210


                                       7
      Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 8 of 12



(617) 532-2700                           Sean M. Berkowitz (admitted pro hac vice)
dschumacher@health-law.com               LATHAM & WATKINS LLP
                                         330 North Wabash Avenue
Patric Hooper (Pro Hac Vice)             Suite 2800
HOOPER, LUNDY & BOOKMAN, P.C.
                                         Chicago, IL 60611
1875 Century Park East, Suite 1600
Los Angeles, California 90067-2517       Phone: 312.777.7700
(310) 551-8111                           Fax: 312.993.9767
phooper@health-law.com                   sean.berkowitz@lw.com

Jordan Kearney (Pro Hac Vice)            William J. Trach (BBO #661401)
HOOPER, LUNDY & BOOKMAN, P.C.
                                         LATHAM & WATKINS LLP
575 Market Street, Suite 2300
San Francisco, CA 94105                  200 Clarendon Street
(415) 875-8500                           Boston, MA 02116
jkearney@health-law.com                  Phone: 617.948.6000
                                         william.trach@lw.com

                                         Perry J. Viscounty (admitted pro hac vice)
                                         LATHAM & WATKINS LLP
                                         650 Town Center Drive
                                         20th Floor
                                         Costa Mesa, CA 92626
                                         Phone: 714.540.1235
                                         perry.viscounty@lw.com

                                         Roman Martinez (admitted pro hac vice)
                                         LATHAM & WATKINS LLP
                                         555 Eleventh Street, NW
                                         Suite 1000
                                         Washington, DC 20004
                                         Phone: 202.637.2200
                                         roman.martinez@lw.com

                                         /s/ George W. Vien
                                         George W. Vien (BBO #547411)
                                         Joshua N. Ruby (BBO #679113)
                                         DONNELLY, CONROY & GELHAAR, LLP
                                         260 Franklin Street
                                         Suite 1600
                                         Boston, MA 02110
                                         Phone: 617.720.2880
                                         Fax: 617.720.3554
                                         gwv@dcglaw.com
                                         jnr@dcglaw.com



                                     8
       Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 9 of 12



                                          /s/ Mark E. Beck
                                          Mark E. Beck (admitted pro hac vice)
                                          Mark Beck Law, A Professional Corporation
                                          350 West Colorado Boulevard
                                          Suite 200
                                          Pasadena, CA 91105
                                          Phone: 213.596.7828
                                          mbeck@markbecklaw.com

ELISABETH KIMMEL                          LORI LOUGHLIN

By her attorneys,                         By her attorneys,

/s/ Eóin P. Beirne                        /s/ Sean M. Berkowitz
R. Robert Popeo (BBO # 403360)            Sean M. Berkowitz (admitted pro hac vice)
Mark E. Robinson (BBO # 423080)           LATHAM & WATKINS LLP
Eóin P. Beirne (BBO # 660885)             330 North Wabash Avenue
Cory S. Flashner (BBO # 629205)           Suite 2800
MINTZ, LEVIN, COHN, FERRIS, GLOVSKY       Chicago, IL 60611
AND POPEO, P.C.
                                          Phone: 312.777.7700
One Financial Center
Boston, MA 02111                          Fax: 312.993.9767
(617) 348-1707 (telephone)                sean.berkowitz@lw.com
(617) 542-2241 (fax)
rpopeo@mintz.com                          William J. Trach (BBO #661401)
mrobinson@mintz.com                       LATHAM & WATKINS LLP
ebeirne@mintz.com
                                          200 Clarendon Street
cflashner@mintz.com
                                          Boston, MA 02116
                                          Phone: 617.948.6000
                                          william.trach@lw.com

                                          Perry J. Viscounty (admitted pro hac vice)
                                          LATHAM & WATKINS LLP
                                          650 Town Center Drive
                                          20th Floor
                                          Costa Mesa, CA 92626
                                          Phone: 714.540.1235
                                          perry.viscounty@lw.com

                                          Roman Martinez (admitted pro hac vice)
                                          LATHAM & WATKINS LLP
                                          555 Eleventh Street, NW
                                          Suite 1000
                                          Washington, DC 20004
                                          Phone: 202.637.2200
                                          roman.martinez@lw.com



                                      9
      Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 10 of 12




                                           /s/ David C. Scheper
                                           David C. Scheper (admitted pro hac vice)
                                           SCHEPER KIM & HARRIS LLP
                                           601 West Fifth Street, 12th Floor
                                           Los Angeles, CA 90071
                                           Phone: 213.613.4655
                                           Fax: 213.613.4656
                                           dscheper@scheperkim.com




WILLIAM McGLASHAN, JR.                     MARCI PALATELLA

By his attorneys,                          By her attorneys,

/s/ Jack W. Pirozzolo                      /s/ Michael K. Loucks
Jack W. Pirozzolo (BBO #564879)            Michael K. Loucks (BBO # 305520)
jpirozzolo@sidley.com                      Skadden, Arps, Slate, Meagher & Flom LLP
SIDLEY AUSTIN LLP                          500 Boylston Street
60 State Street, 36th Floor                Boston, MA 02116
Boston, MA 02109                           617-573-4840
Tel: (617) 223-0304                        michael.loucks@skadden.com

Joan M. Loughnane (pro hac vice)           Jack P. DiCanio (pro hac vice)
jloughnane@sidley.com                      Allen J. Ruby (pro hac vice)
SIDLEY AUSTIN LLP                          Skadden, Arps, Slate, Meagher & Flom LLP
787 7th Avenue                             525 University Avenue
New York, NY 10019                         Palo Alto, CA 94301
Tel: (212) 839-5567                        650-470-4500
                                           allen.ruby@skadden.com
/s/ John C. Hueston                        jack.dicanio@skadden.com
John C. Hueston (pro hac vice)
Marshall Camp (pro hac vice)
HUESTON HENNIGAN LLP
523 W. 6th Street, Suite 400
Los Angeles, CA 90014
Tel: (213) 788-4340
jhueston@hueston.com
mcamp@hueston.com

DAVID SIDOO                                JOHN WILSON

By his attorneys,                          By his attorneys,

/s/ Martin G. Weinberg                     /s/ Michael Kendall
Martin G. Weinberg, Esq. (BBO # 519480)    Michael Kendall (BBO #544866)
Martin G. Weinberg, PC                     Yakov Malkiel (BBO #689137)
20 Park Plaza                              WHITE & CASE LLP



                                          10
      Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 11 of 12



Suite 1000                                 75 State Street
Boston, MA 02116                           Boston, MA 02109-1814
617-227-3700                               Tel: (617) 979-9310
Fax: 617-338-9538                          michael.kendall@whitecase.com
owlmcb@att.net
                                           Andrew E. Tombak (pro hac vice)
/s/ David Z. Chesnoff (Pro Hac Vice)       WHITE & CASE LLP
David Z. Chesnoff, Esq.                    1221 Avenue of the Americas
Chesnoff & Schonfeld                       New York, NY 10020
520 S. 4th Street                          Tel: (212) 819-8428
Las Vegas, NV 89101                        Andrew.tomback@whitecase.com
702-384-5563
dzchesnoff@cslawoffice.net

/s/ Richard A. Schonfeld (Pro Hac Vice)
Richard A. Schonfeld
Chesnoff & Schonfeld
520 South Fourth Street
Las Vegas, NV 89101
702-384-5563
rschonfeld@cslawoffice.net

DR. HOMAYOUN ZADEH                         ROBERT ZANGRILLO

By his attorneys,                          By his attorneys,

/s/ Tracy A. Miner                         /s/ Nicholas Theodorou
Tracy A. Miner (BBO # 547137)              Nicholas Theodorou (BBO # 495730)
Megan A. Siddall (BBO # 568979)            Foley Hoag LLP
Seth B. Orkand (BBO # 669810)              155 Seaport Boulevard
Miner Orkand Siddall LLP                   Boston, MA 02210
470 Atlantic Ave, 4th Floor                Tel: (617) 832-1163
Boston, MA 02110                           ntheodorou@foleyhoag.com
Tel.: (617) 273-83 77
tminer@mosllp.com                          Martin G. Weinberg, Esq. (BBO # 519480)
msiddall@mosllp.com                        20 Park Plaza, Suite 1000
sorkand@mosllp.com                         Boston, MA 02116
                                           Tel: (617) 227-3700
                                           owlmgw@att.net

                                           Matthew L. Schwartz
                                           Boies Schiller Flexner
                                           55 Hudson Yards, 20th Floor
                                           New York, NY 10001
                                           Tel: (212) 303-3646
                                           mlschwartz@bsfllp.com




                                          11
       Case 1:19-cr-10080-NMG Document 730 Filed 01/10/20 Page 12 of 12



                                 CERTIFICATE OF SERVICE

        I, Kristen A. Kearney, hereby certify that this document filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as non-registered participants on
January 10, 2020.

                                                              /s/ Kristen A. Kearney
                                                              KRISTEN A. KEARNEY
                                                              Assistant United States Attorney




                                                 12
